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                         EXHIBIT A
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   From:             Obermeier, Stephen
   To:               Amy Neuhardt
   Cc:               Lee Wolosky; Andrew Chesley; Gardner, Matthew
   Subject:          RE: Stonington Motion to Dismiss
   Date:             Friday, July 6, 2018 9:04:11 AM


   Amy,
    
   Let me start by saying that I very much sympathize with Lee’s situation, and I have no interest in
   disrupting his personal life, particularly something so important.  In 99% of my cases, I would agree
   to this without a second thought, and I would expect counsel to cooperate with me if the shoe was
   on the other foot. 
    
   But as I think you know, the situation here is unique.  We already tried to move the hearing to
   August 6, but that was rejected by the Court.  At the same time, we read the Court’s July 3 Order as
   requiring us to file and notice our motion as quickly as possible.  Also, Plaintiffs have insisted on
   pursuing significant discovery before the defendants have even responded to the Amended
   Complaint.  It is untenable for our clients to delay the hearing any further while unilateral discovery
   continues. 
    
   As a result, we’re going to notice the hearing for 8/13.  However, after we see what happens at the
   July 30 hearing, I am happy to talk again about a potential resolution that would both accommodate
   Lee’s schedule and protect our clients’ significant interests in having their motion to dismiss heard as
   quickly as possible.  At the very least, it seems that Plaintiffs should consider asking the Court’s
   permission for someone besides Lee to argue the motion.
    
   Thank you,
    
   Steve
    
    
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   From: Amy Neuhardt [mailto:aneuhardt@bsfllp.com]
   Sent: Friday, July 6, 2018 9:00 AM
   To: Obermeier, Stephen <SObermeier@wileyrein.com>
   Cc: Lee Wolosky <lwolosky@BSFLLP.com>; Andrew Chesley <AChesley@BSFLLP.com>
   Subject: RE: Stonington Motion to Dismiss
    
   Steve – just following up on this.  Can you let us know whether you will consent?
    
   From: Amy Neuhardt
Case 2:18-cv-02421-JFW-E Document 140-2 Filed 07/10/18 Page 3 of 3 Page ID #:2660


   Sent: Thursday, July 5, 2018 3:02 PM
   To: Obermeier, Stephen <SObermeier@wileyrein.com>
   Cc: Lee Wolosky <lwolosky@BSFLLP.com>; Andrew Chesley <AChesley@BSFLLP.com>
   Subject: Stonington Motion to Dismiss
    
   Following up on our conversation earlier today, I would like to seek your consent to set Stonington’s
   motion to dismiss for August 27 or later, rather than August 13.  As you have been aware for some
   time and as we informed the court in the joint scheduling stipulation months ago (attached), Lee is
   unavailable on August 13 or 21.  His daughter is an incoming college freshman, and he is moving her
   to college out-of-state, so this is an immovable obligation.  I know that you have some concern
   about discovery continuing during the two weeks between August 13 and August 27, but the Court
   already has indicated its intention to hear both stay motions on July 30, so that issue should be
   resolved one way or the other by August 13.  Finally, pursuant to the stipulation and order plaintiffs
   entered into with the GRA Defendants, their anticipated motion to dismiss will be set for hearing on
   August 27, and I suspect that there will be some overlap between the Stonington motion and the
   GRA motion, so there is judicial efficiency in consolidating the hearings.
    
   Amy L. Neuhardt
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